      Case 1:24-bk-10646-MB          Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59    Desc
                                     Main Document    Page 1 of 22


 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; MYK@LNBYG.COM; KJM@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 99                              SAN FERNANDO VALLEY DIVISION

10
10    In re:                                          Case No.: 1:24-bk-10646-MB
11
11    SYNAPSE FINANCIAL TECHNOLOGIES,
      INC.,                                           Chapter 11 Case
12
12
13
13             Debtor and Debtor in Possession        DEBTOR’S EMERGENCY MOTION
                                                      FOR ENTRY OF AN ORDER: (I)
14
14                                                    AUTHORIZING THE CONTINUED
                                                      USE OF ITS CASH MANAGEMENT
15
15                                                    SYSTEM; (II) AUTHORIZING THE
16                                                    MAINTENANCE OF CERTAIN PRE-
16
                                                      PETITION BANK ACCOUNTS; AND
17
17                                                    (III) AUTHORIZING BANKS TO
                                                      RELEASE        ADMINISTRATIVE
18
18                                                    HOLDS AND/OR FREEZES ON THE
                                                      DEBTOR’S         PRE-PETITION
19
19                                                    ACCOUNTS; MEMORANDUM OF
20                                                    POINTS AND AUTHORITIES
20
21
21                                                    [Omnibus Declaration of Sankaet
                                                      Pathak filed concurrently herewith]
22
22
                                                      DATE:     April 24, 2024
23
23                                                    TIME:     2:00 p.m.
24
24                                                    PLACE:    Courtroom 303
                                                                21041 Burbank Boulevard.
25
25                                                              Woodland Hills, CA 91367

26
26
27
27
28
28


                                                  1
      Case 1:24-bk-10646-MB           Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                 Desc
                                      Main Document    Page 2 of 22


 11          Synapse Financial Technologies, Inc. (the “Debtor”), debtor in possession in the above-

 22   captioned Chapter 11 bankruptcy case hereby moves, on an emergency basis (the “Motion”),

 33   pursuant to 11 U.S.C. §§ 105 and 363, for entry of an order: (1) authorizing the continued use of

 44   the Debtor’s existing cash management system, (2) authorizing the maintenance and continued use

 55   of certain of the Debtor’s existing bank accounts, and (3) authorizing the release of any

 66   administrative freezes or holds on the Debtor’s bank accounts as a result of the bankruptcy filings

 77   (or for any other reason).

 88          On April 22, 2024, the Debtor filed a Voluntary Petition for relief under Chapter 11 of

 99   the Bankruptcy Code. Since the Petition Date, the Debtor has operated its business and managed
10
10    its affairs as a debtor in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.
11
11           The Debtor is a technology and software company with a mission to ensure that everyone
12
12    around the world has access to best-in-class financial products, regardless of their net worth.
13
13    The Debtor has proprietary technology and software which essentially allows financial
14
14    technology platforms called “fintechs” to provide certain financial products and services to the
15
15    fintechs’ customers (referred to as end users) through certain banking and financial service
16
16    providers (“Partner Financial Institutions”).
17
17           The Debtor is one of the first, if not the first, tech company to pioneer a Banking as a
18
18    Service (Baas) platform for fintechs and Partner Financial Institutions which have agreements
19
19    with the Debtor to efficiently interface each other to allow for transactions (i.e., the buy and sell)
20
20    of their financial products and services to the fintechs’ end users. The Debtor has in place certain
21
21    agreements with Partner Financial Institutions and fintechs. Through the Debtor’s software
22
22    technologies and services, the Debtor provides customers of fintechs (referred to as “end users”
23
23    to avoid confusing them with the fintechs which are the customers of the Debtor) with access to
24
24    banking or other financial services provided by the Partner Financial Institutions through the
25
25    fintech’s own application. By example, an individual or a company business customer (i.e., the
26
26    end user) interested in obtaining various financial services such as opening an account will first
27
27    sign up with a fintech which has contracted for the Debtor’s services by utilizing the fintech’s
28
28    own application. The end user signs up for the specific banking or financial services by first


                                                        2
      Case 1:24-bk-10646-MB           Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59              Desc
                                      Main Document    Page 3 of 22


 11   signing up for a user account through the fintech’s application and agreeing to the fintech’s terms

 22   and conditions (as well as those of the Debtor). Then, through the fintech’s application, the end

 33   user can choose from financial products offered by the Partner Financial Institutions, as well as

 44   the relevant agreement with the Partner Financial Institutions (e.g., deposit account agreement,

 55   card agreement, or the like). End users are customers of the fintechs and the Partner Financial

 66   Institutions, not the Debtor. The Debtor is not in the flow of funds and does not receive funds

 77   from the end users. The Partner Financial Institutions access information about the end users

 88   through the Debtor’s software and technology services. The “network” between the fintech and

 99   the Partner Financial Institutions is created through the Debtor’s technology and software which
10
10    then allows for the fintechs, Partner Financial Institutions and the end users to communicate
11
11    through their systems and programs to make transactions (for such things as deposits,
12
12    withdrawals, credit cards, etc.), for monitoring and reporting, and the like.
13
13           In addition to providing access to its proprietary technology and platform that allows for
14
14    the fintechs to offer financial products and services of the Partner Financial Institutions to the
15
15    end users, the Debtor also provides related services to the Partner Financial Institutions and the
16
16    fintechs, such as, for example, compliance check services (e.g., ensuring that the end users are
17
17    authorized to open accounts), and handles end-user disputes and customer service. As of January
18
18    2024, the Debtor had service contracts with over 20 Partner Financial Institutions (either directly
19
19    or indirectly for sweep networks) and 48 fintechs, and approximately 6 million users through its
20
20    technology platform.
21
21           As of the Petition Date, the Debtor collected revenue, disbursed funds and managed
22
22    customer and Partner Financial Institution relationships and programs utilizing a network of bank
23
23    accounts and other accounts at numerous depositories, as described below.
24
24    A.     The Debtor’s Operating Bank Accounts.
25
25           From the Debtor’s perspective, the only accounts that the Debtor would ordinarily be
26
26    required to close immediately after the Petition Date and replace with “debtor in possession”
27
27    accounts at approved depositories are a handful of bank accounts that the Debtor uses to deposit
28
28


                                                        3
      Case 1:24-bk-10646-MB        Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59             Desc
                                   Main Document    Page 4 of 22


 11   revenue and make disbursements in the ordinary course of business. These bank accounts are the

 22   following:

 33
       Financial              Account Number            Account Description    Proposed
 44
       Institution                                                             Disposition
 55    First Horizon Bank     X33074                    Savings                Close and transfer
                                                                               any funds to a debtor
 66                                                                            in         possession
                                                                               operating account
 77    iBank                  x60012                    Business Checking – Keep for a thirty (30)
                                                        primarily used to fund day period of time
 88
                                                        operating expenses
 99    iBank                  X0495                     Small        Business Keep for a thirty (30)
                                                        Checking – primarily day period of time
10
10                                                      used to fund payroll
                                                        expenses
11
11     Evolve      Bank   and X42341                    Savings                Close and transfer
12
12     Trust                                                                   any funds into a
                                                                               debtor in possession
13
13                                                                             operating account
       Silicon Valley Bank    x5986                     Operating Checking     Convert into a debtor
14
14                                                                             in         possession
15                                                                             account, per the
15
                                                                               Debtor’s agreement
16
16                                                                             with Silicon Valley
                                                                               Bank
17
17     Silicon Valley Bank    x9909                     Accounts Payable and Convert into a debtor
                                                        Payroll Checking       in         possession
18
18                                                                             account, per the
19
19                                                                             Debtor’s agreement
                                                                               with Silicon Valley
20
20                                                                             Bank
       Silicon Valley Bank    x9886                     Interchange account    Convert into a debtor
21
21                                                                             in         possession
                                                                               account, per the
22
22                                                                             Debtor’s agreement
23
23                                                                             with Silicon Valley
                                                                               Bank
24
24     Silicon Valley Bank    x9890                     Billing     Collection Convert into a debtor
                                                        Checking               in         possession
25
25                                                                             account, per the
                                                                               Debtor’s agreement
26
26
                                                                               with Silicon Valley
27
27                                                                             Bank

28
28


                                                    4
      Case 1:24-bk-10646-MB          Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                Desc
                                     Main Document    Page 5 of 22


 11          The Debtor requests authority to maintain the two iBank accounts for a temporary period

 22   of time following the Petition Date in order to minimize disruption to the Debtor’s ability to

 33   conduct business post-petition, including to ensure that it is able to pay its post-petition payroll

 44   obligations. Immediately after the Petition Date, the Debtor will commence the process of

 55   opening new debtor in possession accounts (by converting its Silicon Valley Bank accounts into

 66   debtor in possession accounts which the Debtor understands Silicon Valley Bank will do) and

 77   will ultimately transition operating and disbursement activities to its debtor in possession

 88   accounts, into which the Debtor will ultimately deposit revenue and from which the Debtor will

 99   ultimately make disbursements.
10
10    B.     Accounts With Partner Financial Institutions.
11
11           Separate and apart from the above bank accounts, the Debtor also has an interest in,
12
12    access to, or some control over certain other accounts held at Partner Financial Institutions. The
13
13    Debtor’s provision of services to Partner Financial Institutions are pursuant to agreements
14
14    between the Debtor (and/or the Debtor’s subsidiaries) and the Partner Financial Institutions,
15
15    including, without limitation, Evolve Bank and Trust (“Evolve”), Lineage Bank (“Lineage”),
16
16    AMG National Trust Bank (“AMG”) and American Bank (“AB”). The Debtor also provides
17
17    access to other financial services through its wholly-owned subsidiaries. Cash management
18
18    services are provided through the Debtor’s broker dealer subsidiary, who has indirect agreements
19
19    with other financial institutions through its sweep network. In addition, the Debtor provides
20
20    lending services through its lender subsidiary, which holds state lending licenses.
21
21           In addition, certain accounts required to provide services to fintechs and end users, which
22
22    are maintained at Partner Financial Institutions, are not owned or controlled by the Debtor and
23
23    the Debtor has no interest in such accounts; rather, they are controlled by the respective financial
24
24    institutions at which the accounts are held. An example of such accounts are omnibus custodial
25
25    accounts owned by Partner Financial Institutions, in which the Partner Financial Institution pools
26
26    the funds held by end users, for their benefit (or in the case of a fintech, for the benefit of a
27
27    fintech’s end users) and the funds thereon, are not owned or controlled by the Debtor.
28
28


                                                       5
      Case 1:24-bk-10646-MB          Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                Desc
                                     Main Document    Page 6 of 22


 11          The Debtor generates revenue from these arrangements in the form of fees, interest and

 22   other charges, and the Debtor’s provision of such services are pursuant to agreements between

 33   the Debtor and the Partner Financial Institutions.

 44          The Debtor’s agreements with Partner Financial Institutions, including its subsidiaries,

 55   require or provide for the establishment of certain accounts, including, without limitation reserve

 66   accounts, fee and revenue accounts and other accounts in connection with the program services

 77   provided by the Debtor to the Partner Financial Institutions, the Debtor’s customers (fintechs)

 88   and end-users. These fee and revenue accounts, in particular, include technological integrations

 99   with third-party providers and fintechs for the receipt of revenue and payment of fees and costs.
10
10    Therefore, these accounts are required to be maintained by Debtor as ancillary and necessary to
11
11    its provision of services. For example, the Debtor maintains certain deposit accounts at the
12
12    Partner Financial Institutions which are used to receive fees and compensation from Partner
13
13    Financial Institutions and other third-parties and to also make payments of certain fees and
14
14    compensation due and owing to fintechs and/or end users.
15
15           At this time, to the extent the Debtor has any control over or ability to close any such
16
16    accounts with its Partner Financial Institutions, the Debtor does not intend to close any such
17
17    accounts, and to the extent Court authority is required to continue to maintain such accounts with
18
18    its Partner Financial Institutions, the Debtor requests Court authority to do so. In particular, the
19
19    Debtor desires to ensure that there is no disruption to end-users’ ability to access their funds
20
20    (which are not funds that belong to the Debtor) and that there is no disruption to the flow of
21
21    revenue to the Debtor in connection with interest, fees and charges to which the Debtor is
22
22    entitled. Additionally, the Debtor is conducting a sale process and has a stalking horse bidder,
23
23    and the Debtor’s maintenance and continued administration of accounts with its Partner
24
24    Financial Institutions in accordance with the Debtor’s agreements with such Partner Financial
25
25    Institutions may be a critical component of a sale of the Debtor’s assets and an important
26
26    condition of purchase by any buyer, including the Debtor’s stalking horse bidder. Indeed, the
27
27    Debtor’s asset purchase agreement with the stalking horse bidder requires the Debtor to, pending
28
28    approval of the sale, operate and conduct the Debtor’s business in the ordinary course, consistent


                                                       6
      Case 1:24-bk-10646-MB          Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59              Desc
                                     Main Document    Page 7 of 22


 11   with past practices. Moreover, the asset purchase agreement includes or may include certain

 22   bank accounts designated as “Purchased Assets.”

 33          As described above, the Debtor will open debtor in possession accounts (the Debtor

 44   contemplates opening a debtor in possession operating account and a debtor in possession

 55   payroll account) into which revenue received by the Debtor will ultimately be deposited and

 66   disbursements made by the Debtor to pay its post-petition expenses and any other expenses

 77   approved by the Court will be originated.

 88          The relief requested herein will help ensure the Debtor’s smooth transition into chapter

 99   11 and avoid any interruption or disruption in the Debtor’s ability to provide services to its
10
10    customers, Partner Financial Institutions and end-users, continue to generate and collect revenue
11
11    for the benefit of the estate and preserve and maintain operations and activities to help ensure a
12
12    successful sale process. It is important that this Motion be heard on an emergency basis so that
13
13    the Debtor may immediately comply with applicable requirements concerning its accounts and
14
14    cash management system.
15
15                                   ADDITIONAL INFORMATION
16
16           This Motion is based on this Notice of Motion and Motion, the supporting Memorandum
17
17    of Points and Authorities, the attached Declaration of Sankaet Pathak, the arguments and
18
18    statements of counsel to be made at the hearing on the Motion, and other admissible evidence
19
19    properly brought before the Court.
20
20           In order to provide maximum notice of this Motion, on April __, 2024, the Debtor will
21
21    serve a copy of this Motion and notice of the Motion and all supportive papers upon the Office of
22
22    the United States Trustee, the Debtor’s secured creditors and twenty largest unsecured creditors,
23
23    the above-referenced financial institutions, and all those parties who have requested special
24
24    notice via overnight mail.
25
25           WHEREFORE, the Debtor respectfully requests that this Court enter an order:
26
26           1.      Granting the Motion in its entirety;
27
27           2.      Affirming the adequacy of the notice given;
28
28


                                                       7
      Case 1:24-bk-10646-MB       Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                Desc
                                  Main Document    Page 8 of 22


 11         3.     Authorizing the Debtor to maintain its prepetition cash management system as set

 22                forth above;

 33         4.     Authorizing the release of any administrative freezes or holds on any bank

 44                accounts of the Debtor; and

 55         5.     Granting such other and further relief as the Court deems just and proper.

 66
      Dated: April 22, 2024                      SYNAPSE FINANCIAL TECHNOLOGIES, INC.
 77

 88                                              By:    /s/ Krikor J. Meshefejian
                                                        RON BENDER
 99                                                     MONICA Y. KIM
                                                        KRIKOR J. MESHEFEJIAN
10
10                                                      LEVENE, NEALE, BENDER,
                                                        YOO & GOLUBCHIK L.L.P.
11
11
                                                        Proposed Attorneys for Chapter 11 Debtor
12
12                                                      and Debtor in Possession

13
13
14
14
15
15
16
16
17
17
18
18
19
19
20
20
21
21
22
22
23
23
24
24
25
25
26
26
27
27
28
28


                                                    8
      Case 1:24-bk-10646-MB           Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59              Desc
                                      Main Document    Page 9 of 22


 11                        MEMORANDUM OF POINTS AND AUTHORITIES

 22                                                    I.

 33                                       STATEMENT OF FACTS

 44   PLEASE SEE DEBTOR’S EMERGENCY MOTION FOR AUTHORITY TO USE CASH

 55   COLLATERAL            AND     THE    DECLARATION             OF    SANKAET       PATHAK       FOR

 66   BACKGROUND FACTS AND INFORMATION REGARDING THIS CASE, WHICH

 77   THE DEBTOR INCORPORATES HEREIN BY THIS REFERENCE.

 88   A.       The Debtor’s Pre-petition Cash Management System.

 99            1.      As of the Petition Date, the Debtor collected revenue, disbursed funds and
10
10    managed customer and Partner Financial Institution relationships and programs utilizing a
11
11    network of bank accounts and other accounts at numerous depositories, as described below.
12
12             The Debtor’s Operating Bank Accounts
13
13             2.      From the Debtor’s perspective, the only accounts that the Debtor would ordinarily
14
14    be required to close immediately after the Petition Date and replace with “debtor in possession”
15
15    accounts at approved depositories are a handful of bank accounts that the Debtor uses to deposit
16
16    revenue and make disbursements in the ordinary course of business. These bank accounts are the
17
17    following:
18
18
       Financial                Account Number              Account Description    Proposed
19
19
       Institution                                                                 Disposition
20
20     First Horizon Bank       X33074                      Savings                Close and transfer
                                                                                   any funds to a debtor
21
21                                                                                 in         possession
                                                                                   operating account
22
22     iBank                    x60012                      Business Checking – Keep for a thirty (30)
23                                                          primarily used to fund day period of time
23
                                                            operating expenses
24
24     iBank                    X0495                       Small        Business Keep for a thirty (30)
                                                            Checking – primarily day period of time
25
25                                                          used to fund payroll
                                                            expenses
26
26     Evolve       Bank   and X42341                       Savings                Close and transfer
27
27     Trust                                                                       any funds into a
                                                                                   debtor in possession
28
28                                                                                 operating account


                                                       9
      Case 1:24-bk-10646-MB          Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                   Desc
                                     Main Document    Page 10 of 22


 11    Silicon Valley Bank      x5986                     Operating Checking     Convert into a debtor
                                                                                 in        possession
 22                                                                              account, per the
 33                                                                              Debtor’s agreement
                                                                                 with Silicon Valley
 44                                                                              Bank
       Silicon Valley Bank      x9909                     Accounts Payable and Convert into a debtor
 55                                                       Payroll Checking       in        possession
                                                                                 account, per the
 66
                                                                                 Debtor’s agreement
 77                                                                              with Silicon Valley
                                                                                 Bank
 88    Silicon Valley Bank      x9886                     Interchange account    Convert into a debtor
                                                                                 in        possession
 99                                                                              account, per the
10                                                                               Debtor’s agreement
10
                                                                                 with Silicon Valley
11
11                                                                               Bank
       Silicon Valley Bank      x9890                     Billing     Collection Convert into a debtor
12
12                                                        Checking               in        possession
                                                                                 account, per the
13
13                                                                               Debtor’s agreement
14
14                                                                               with Silicon Valley
                                                                                 Bank
15
15
             3.      The Debtor requests authority to maintain the two iBank accounts for a temporary
16
16
      period of time following the Petition Date in order to minimize disruption to the Debtor’s ability
17
17
      to conduct business post-petition, including to ensure that it is able to pay its post-petition payroll
18
18
      obligations. Immediately after the Petition Date, the Debtor will commence the process of
19
19
      opening new debtor in possession accounts (by converting its Silicon Valley Bank accounts into
20
20
      debtor in possession accounts which the Debtor understands Silicon Valley Bank will do) and
21
21
      will ultimately transition operating and disbursement activities to its debtor in possession
22
22
      accounts, into which the Debtor will ultimately deposit revenue and from which the Debtor will
23
23
      ultimately make disbursements.
24
24
             Accounts Partner Financial Institutions
25
25
             4.      Separate and apart from the above bank accounts, the Debtor also has an interest
26
26
      in, access to, or some control over certain other accounts held at Partner Financial Institutions.
27
27
      The Debtor’s provision of services to Partner Financial Institutions are pursuant to agreements
28
28


                                                        10
      Case 1:24-bk-10646-MB           Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59              Desc
                                      Main Document    Page 11 of 22


 11   between the Debtor (and/or the Debtor’s subsidiaries) and the Partner Financial Institutions,

 22   including, without limitation, Evolve Bank and Trust (“Evolve”), Lineage Bank (“Lineage”),

 33   AMG National Trust Bank (“AMG”) and American Bank (“AB”). The Debtor also provides

 44   access to other financial services through its wholly-owned subsidiaries. Cash management

 55   services are provided through the Debtor’s broker dealer subsidiary, who has indirect agreements

 66   with other financial institutions through its sweep network. In addition, the Debtor provides

 77   lending services through its lender subsidiary, which holds state lending licenses.

 88           5.      The Debtor’s software, among other things, provides financial technology

 99   companies (the Debtor’s customers), and ultimately end-users the ability to access financial
10
10    products offered by the Partner Financial Institutions via a single platform (the Synapse
11
11    platform) such that the Debtor’s customers, and, ultimately, end-users are able to access different
12
12    financial institutions’ products and, in theory, are not susceptible to the success or failure of a
13
13    single financial institution.
14
14            6.      The Debtor generates revenue from these arrangements in the form of fees,
15
15    interest and other charges, and the Debtor’s provision of such services are pursuant to
16
16    agreements between the Debtor and the Partner Financial Institutions.
17
17            7.      Therefore, the Debtor’s agreements with Partner Financial Institutions, including
18
18    its subsidiaries, require or provide for the establishment of certain accounts, including, without
19
19    limitation reserve accounts, fee and revenue accounts and other accounts in connection with the
20
20    program services provided by the Debtor to the Partner Financial Institutions, the Debtor’s
21
21    customers (fintechs) and end-users. These fee and revenue accounts, in particular, include
22
22    technological integrations with third-party providers and fintechs for the receipt of revenue and
23
23    payment of fees and costs. Therefore, these accounts are required to be maintained by the Debtor
24
24    as ancillary and necessary to its provision of services. For example, the Debtor maintains certain
25
25    deposit accounts at the Partner Financial Institutions which are used to receive fees and
26
26    compensation from Partner Financial Institutions and other third-parties and to also make
27
27    payments of certain fees and compensation due and owing to fintechs and/or end users.
28
28


                                                      11
      Case 1:24-bk-10646-MB         Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                 Desc
                                    Main Document    Page 12 of 22


 11          8.      In addition, certain accounts required to provide services to fintechs and end

 22   users, which are maintained at Partner Financial Institutions, are not owned or controlled by the

 33   Debtor and the Debtor has no interest in such accounts; rather, they are controlled by the

 44   respective financial institutions at which the accounts are held. An example of such accounts are

 55   omnibus custodial accounts owned by Partner Financial Institutions, in which the Partner

 66   Financial Institution pools the funds held by end users, for their benefit (or in the case of a

 77   fintech, for the benefit of a fintech’s end users) and the funds thereon, are not owned or

 88   controlled by the Debtor.

 99          9.      At this time, to the extent the Debtor has any control over or ability to close any
10
10    such accounts with its Partner Financial Institutions, the Debtor does not intend to close any such
11
11    accounts, and to the extent Court authority is required to continue to maintain such accounts with
12
12    its Partner Financial Institutions, the Debtor requests Court authority to do so. In particular, the
13
13    Debtor desires to ensure that there is no disruption to end-users’ ability to access their funds
14
14    (which are not funds that belong to the Debtor) and that there is no disruption to the flow of
15
15    revenue to the Debtor in connection with interest, fees and charges to which the Debtor is
16
16    entitled. Additionally, the Debtor is conducting a sale process and has a stalking horse bidder,
17
17    and the Debtor’s maintenance and continued administration of accounts with its Partner
18
18    Financial Institutions in accordance with the Debtor’s agreements with such Partner Financial
19
19    Institutions may be a critical component of a sale of the Debtor’s assets and an important
20
20    condition of purchase by any buyer, including the Debtor’s stalking horse bidder. Indeed, the
21
21    Debtor’s asset purchase agreement with the stalking horse bidder requires the Debtor to, pending
22
22    approval of the sale, operate and conduct the Debtor’s business in the ordinary course, consistent
23
23    with past practices. Moreover, the asset purchase agreement includes or may include certain
24
24    bank accounts designated as “Purchased Assets.”
25
25           10.     As described above, the Debtor will open debtor in possession accounts (the
26
26    Debtor contemplates opening a debtor in possession operating account and a debtor in possession
27
27    payroll account) into which revenue received by the Debtor will ultimately be deposited and
28
28


                                                      12
      Case 1:24-bk-10646-MB         Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                 Desc
                                    Main Document    Page 13 of 22


 11   disbursements made by the Debtor to pay its post-petition expenses and any other expenses

 22   approved by the Court will be originated.

 33           11.    The relief requested herein will help ensure the Debtor’s smooth transition into

 44   chapter 11 and avoid any interruption or disruption in the Debtor’s ability to provide services to

 55   its customers, Partner Financial Institutions and end-users, continue to generate and collect

 66   revenue for the benefit of the estate and preserve and maintain operations and activities to help

 77   ensure a successful sale process. It is important that this Motion be heard on an emergency basis

 88   so that the Debtor may immediately comply with applicable requirements concerning its

 99   accounts and cash management system.
10
10                                                      II.
11
11                                                DISCUSSION
12
12         Section 105(a) of the Bankruptcy Code provides:
13
13                   “The court may issue any order, process or judgment that is
14
14                   necessary or appropriate to carry out the provisions of this title.
15
15                   No provision of this title providing for the raising of an issue by a
16
16                   party in interest shall be construed to preclude the court from, sua
17
17                   sponte, taking any action or making any determination necessary
18
18                   or appropriate to enforce or implement court orders or rules, or to
19
19                   prevent an abuse of process.”
20
20    11 U.S.C. § 105(a). All of the relief requested herein is within the Court’s authority to grant at
21
21    its discretion. The Debtor respectfully requests that the Court exercise its discretion to grant the
22
22    relief requested herein.
23
23    A.      The Court Should Authorize The Debtor To Maintain Certain Aspects Of Its
24
24            Prepetition Cash Management System And Accounts.
25
25            Courts have routinely granted chapter 11 debtors authority to continue using their
26
26    existing cash management systems. See In re Pathmark Stores. Inc. et al., Case No. 00-
27
27    02963(JJF) (D. Del. July 13, 2000); In re Safety-Kleen Corp., Case No. 00-02303(PJW) (Bankr.
28
28    D. Del. June 13, 2000); In re Eagle Food Centers, Inc., Case No. 00-01311(RRN) (D. Del.


                                                      13
      Case 1:24-bk-10646-MB         Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                 Desc
                                    Main Document    Page 14 of 22


 11   March 2, 2000); In re Philip Services (Delaware), Inc., Case No. 99-02385(MEW) (Bankr. D.

 22   Del. June 30, 1999); see also, In re Grant Broadcasting of Philadelphia, Inc., 75 B.R. 819 (E.D.

 33   Penn. 1987); In re Charter Company, et al., 778 F.2d 617 (11th Cir. 1985).

 44          The Office of the United States Trustee has established certain operating guidelines for

 55   debtors-in-possession in order to supervise the administration of chapter 11 cases.          These

 66   guidelines require chapter 11 debtors to, among other things; (i) close all existing bank accounts

 77   and open new debtor-in-possession bank accounts; (ii) establish one debtor-in-possession

 88   account for all estate monies required for the payment of taxes, including payroll taxes; (iii)

 99   maintain a separate debtor-in-possession operating account and (iv) obtain checks for all debtor-
10
10    in-possession accounts which bear the designation “Debtor-in-Possession,” the bankruptcy case
11
11    number and the type of accounts.
12
12           The Debtor will close its ordinary operating accounts at Silicon Valley Bank, First
13
13    Horizon Bank, and Evolve, and iBank as set forth in the chart above, except that the Debtor
14
14    requests authority to keep open its accounts at iBank for a limited period of time to ensure that
15
15    business interruptions and payment of post-petition expenses and any other expenses approved to
16
16    be paid by the Court are not delayed as a result of the closure of those accounts at the immediate
17
17    outset of the case. Such relief will allow the Debtor to conduct a smooth transition to debtor in
18
18    possession accounts, particularly since this case involves an expedited sale process with a closing
19
19    proposed to occur by no later than April 30, 2024 and potentially sooner.
20
20           To the extent Court authority is required to continue to maintain accounts with Partner
21
21    Financial Institutions, the Debtor requests Court authority to do so. In particular, the Debtor
22
22    desires to ensure that there is no disruption to end-users’ ability to access their funds (which are
23
23    not funds that belong to the Debtor) and that there is no disruption to the flow of revenue to the
24
24    Debtor in connection with interest, fees and charges to which the Debtor is entitled.
25
25    Additionally, the Debtor is conducting a sale process and has a stalking horse bidder, and the
26
26    Debtor’s maintenance and continued administration of accounts with its Partner Financial
27
27    Institutions may be a critical component of a sale of the Debtor’s assets and an important
28
28    condition of purchase by any buyer, including the Debtor’s stalking horse bidder.


                                                      14
      Case 1:24-bk-10646-MB           Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                Desc
                                      Main Document    Page 15 of 22


 11            As described above, the Debtor will open debtor in possession accounts (the Debtor

 22   contemplates opening a debtor in possession operating account and a debtor in possession

 33   payroll account) into which revenue received by the Debtor will ultimately be deposited and

 44   disbursements made by the Debtor to pay its post-petition expenses and any other expenses

 55   approved by the Court will be originated.

 66   B.       The Court Should Authorize The Banking Institutions To Immediately Release Any

 77            And All Administrative Holds And/Or Freezes That They May Have On Any Of

 88            The Debtor’s Bank Accounts.

 99            Some courts have found the placement of an administrative “freeze” or hold on the bank
10
10    account of a Chapter 11 debtor results in, at a minimum, “unauthorized interference with the
11
11    property of the Chapter 11 debtor without leave of the Court.”           See e.g., In re Executive
12
12    Associates, Inc., 24 B.R. 171, 172 (Bankr. S.D. Tex. 1982); see accord In re LHG Resources,
13
13    Inc., 34 B.R. 202, 203 (Bankr. W.D. Tex. 1983). Nevertheless, under some circumstances, some
14
14    courts have found such actions not to be problematic. See e.g., In re Lough, 163 B.R. 586
15
15    (Bankr. D. Idaho 1994) (freeze which credit union placed on deposit securing its overdraft
16
16    protection loan to debtor depositors was not improper “setoff,” in violation of automatic stay).
17
17             The Debtor is not seeking any determination from the Court with respect to the validity
18
18    or the permissibility of the policy described above. Nonetheless, in an abundance of caution, the
19
19    Debtor respectfully request that the Court exercise its authority pursuant to Section 105 and
20
20    authorize the immediate release on all holds or freezes, if any, on any of the Debtor’s bank
21
21    accounts so that the Debtor can transfer funds in such accounts to its debtor in possession
22
22    accounts (once opened) and otherwise use such funds in accordance with a cash collateral order
23
23    and this Motion.
24
24                                                     III.
25
25                                              CONCLUSION
26
26             Based upon all of the foregoing, the Debtor respectfully requests that this Court enter an
27
27    order:
28
28             1.     Granting the Motion in its entirety;


                                                       15
      Case 1:24-bk-10646-MB       Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                Desc
                                  Main Document    Page 16 of 22


 11         2.     Affirming the adequacy of the notice given;

 22         3.     Authorizing the Debtor to maintain its prepetition cash management system as set

 33                forth above;

 44         4.     Authorizing the release of any administrative freezes or holds on any bank

 55                accounts of the Debtor; and

 66         5.     Granting such other and further relief as the Court deems just and proper.

 77
      Dated: April 22, 2024                      SYNAPSE FINANCIAL TECHNOLOGIES, INC.
 88

 99                                              By:    /s/ Krikor J. Meshefejian
                                                        RON BENDER
10
10                                                      MONICA Y. KIM
                                                        KRIKOR J. MESHEFEJIAN
11
11                                                      LEVENE, NEALE, BENDER,
                                                                YOO & GOLUBCHIK L.L.P.
12
12
                                                        Proposed Attorneys for Debtor and
13
13                                                      Debtor in Possession

14
14
15
15
16
16
17
17
18
18
19
19
20
20
21
21
22
22
23
23
24
24
25
25
26
26
27
27
28
28


                                                   16
            Case 1:24-bk-10646-MB                  Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59                                      Desc
                                                   Main Document    Page 17 of 22



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, California 90034

A True And Correct Copy Of The Foregoing Document Entitled (Specify): DEBTOR’S EMERGENCY MOTION FOR
ENTRY OF AN ORDER: (I) AUTHORIZING THE CONTINUED USE OF ITS CASH MANAGEMENT SYSTEM; (II)
AUTHORIZING THE MAINTENANCE OF CERTAIN PRE-PETITION BANK ACCOUNTS; AND (III) AUTHORIZING
BANKS TO RELEASE ADMINISTRATIVE HOLDS AND/OR FREEZES ON THE DEBTOR’S PRE-PETITION
ACCOUNTS; MEMORANDUM OF POINTS AND AUTHORITIES will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 22, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyg.com
       Russell Clementson russell.clementson@usdoj.gov
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) April 22, 2024, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 22, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY OVERNIGHT MAIL ON
SECURED CREDITORS, THE 20 LARGEST UNSECUREDS, ALL KNOWN POTENTIAL BIDDERS, ANY STALKING
HORSE BIDDER, ANY REGULATORY AGENCY WITH AN INTEREST IN THE ASSETS TO BE SOLD, & THE UNITED
STATES TRUSTEE

                                                     Service by OVERNIGHT MAIL/FEDEX information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 22, 2024                Lourdes Cruz                                                     /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
    Case 1:24-bk-10646-MB   Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59   Desc
                            Main Document    Page 18 of 22


}
b
k
1
{




                       Amazon Web Services, Inc.
                       PO Box 84023
                       Seattle, WA 98124-8423


                       Bergeson LLP
                       111 Market Street, Suite 600
                       San Jose, CA 95113


                       Digital 365 Main, LLC
                       365 Main Street Suite 1500
                       San Francisco, CA 94105


                       First Horizon Bank
                       4385 Poplar Avenue
                       ATTN: Proctor Ford
                       Memphis, TN 38117


                       Fiserv, Inc
                       Po Box 208457
                       Dallas, TX 75320-8457


                       FlemingMartin, LLC
                       822 Hartz Way Suite 215
                       Danville, CA 94526


                       Shinette Parin
                       Goodwin Procter LLP
                       Three Embarcadero Center
                       San Francisco, CA 94111


                       Jones Day
                       555 California Street 26th Floor
                       San Francisco, CA 94104-1500
Case 1:24-bk-10646-MB   Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59   Desc
                        Main Document    Page 19 of 22



                   Benjamin Au
                   Kroll Associates, Inc
                   600 3rd Ave Fl 4
                   New York, NY 10016


                   Lineage Bank
                   3359 Aspen Grove Drive Suite 150
                   Franklin, TN 37067


                   Linkedin Corporation
                   62228 Collections Center Drive
                   Chicago, IL 60693-0622


                   Lowenstein Sandler LLP
                   One Lowenstein Drive
                   Roseland, NJ 07068


                   MasterCard International
                   2200 Mastercard Boulevard
                   O' Fallon, MO 63368-7263


                   John Rodriguez
                   Newfront Insurance, Inc
                   55 2nd Street, 18th Floor
                   San Francisco, CA 94105


                   Performiline, Inc
                   58 South Street 2nd Floor
                   Morristown, NJ 07960


                   Sloanne & Company, LLC
                   285 Fulton Street 69th Floor
                   New York, NY 10007
Case 1:24-bk-10646-MB   Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59   Desc
                        Main Document    Page 20 of 22



                   TabaPay, Inc
                   605 Ellis Street 110
                   Mountain View, CA 94043


                   Thomson Reuters
                   PO Box 6292 - West Payment Center
                   Carol Stream, IL 60197-6292


                   Trulioo Information Services, Inc
                   400-114 East 4th St
                   Vancouver, CA 94104


                   Adam Moelis
                   Yotta Technologies Inc
                   33 Irving Pl
                   New York, NY 10003
Case 1:24-bk-10646-MB            Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59   Desc
                                 Main Document    Page 21 of 22



Russell Clementson
Office of the U.S. Trustee
915 Wilshire Blvd., Suite 1850
Los Angeles, CA 90017

Robert T. Honeywell
K&L Gates LLP
599 Lexington Ave.
New York, NY 10022

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

U.S. Securities and Exchange
Commission Attn: Bankruptcy Counsel
444 South Flower Street, Suite 900
Los Angeles, CA 90071-9591

Employment Development Department
Bankruptcy Group MIC 92E
P. O. Box 826880
Sacramento, CA 94280-0001

Franchise Tax Board
Bankruptcy Section, MS: A-340
P. O. Box 2952
Sacramento, CA 95812-2952

California Department of Tax and
Fee Administration
Account Information Group, MIC: 29
P.O. Box 942879
Sacramento, CA 94279-0029

Los Angeles County Tax Collector
P. O. Box 54110
Los Angeles, CA 90054-0110

FINRA
300 South Grand Avenue, Suite 1700
Los Angeles, CA 90071

Silcon Valley Bank, a division of
First-Citizens Bank & Trust Company
1437 7th Street, Suite 300
Santa Monica, CA 90401
Case 1:24-bk-10646-MB      Doc 6 Filed 04/22/24 Entered 04/22/24 15:56:59   Desc
                           Main Document    Page 22 of 22



TriplePoint Capital LLC
2755 Sand Hill Rd.
Suite 150
Menlo Park, CA 94025

David Poitras
BG Law
21650 Oxnard Street
Suite 500
Woodland Hills, CA 91367
